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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA



COMPEER FINANCIAL, ACA;
COMPEER FINANCIAL, PCA; and                    Court File No. 24-CV-1896 (JWB/ECW)
COMPEER FINANCIAL, FLCA,



                Plaintiffs,                     PLAINTIFFS’ MEMORANDUM OF
                                               LAW IN SUPPORT OF MOTION TO
      v.                                       CONFIRM ARBITRATION AWARDS

CORPORATE AMERICA LENDING,
INC.,


                Defendant.


      Plaintiffs (“Agri-Access”) 1 respectfully move for confirmation of three arbitration

awards pursuant to Chapter 1 of the Federal Arbitration Act (“FAA”) against Defendant

Corporate America Lending, Inc. (“CAL”), and allege as follows:

                                  INTRODUCTION

      Over the past nine months, CAL has told lie after lie with one goal in mind: to

prevent or delay Agri-Access from recovering the more than $58 million in Payoff

Proceeds CAL stole from Agri-Access. Those lies were told to this Court, when Agri-

Access sought to obtain an order in aid of arbitration requiring that CAL segregate and


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         Plaintiffs Compeer Financial, ACA f/k/a AgStar Financial Services, ACA;
Compeer Financial, PCA f/k/a AgStar Financial Services, PCA; and Compeer Financial,
FLCA f/k/a AgStar Financial Services, FLCA, each conduct certain business as Agri-
Access® and are collectively referred to herein as “Agri-Access.” Previous filings and
Orders in this case refer to Plaintiffs collectively as “Compeer.”


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preserve the Payoff Proceeds and when Agri-Access later sought to enforce the Emergency

Arbitrator’s award to that effect. When the parties were last before it, the Court found that

further relief should await enforceable orders from the arbitration merits Panel.

       The Panel has now ruled. Following two hearings, including a merits hearing held

in Minneapolis on January 13, 2025, the Panel issued its Partial Final Award on Phase I

and found that the Payoff Proceeds are Agri-Access’s property, that CAL has no right to

retain the Payoff Proceeds, that CAL breached its contract with Agri-Access when it

retained those Proceeds, that CAL’s defenses to that breach are meritless, and that Agri-

Access is entitled to recover the entire unpaid amount of those Proceeds, plus interest,

attorneys’ fees, and costs. Exhibit 1 (Partial Final Award on Phase I). In reaching its

award, the Panel made clear that “[t]he evidence established that [CAL] acted in bad faith

in thwarting Claimant’s contractual right to receive the Payoff Proceeds.” Id. at 7.

Recognizing that CAL has now succeeded for more than nine months in retaining the

Payoff Proceeds and refusing to segregate and preserve them in willful disobedience of

orders of this Court and the arbitrators, the Panel ordered CAL to transfer to Agri-Access

$23 million now held by CAL’s attorney, C. Russell Georgeson, and to pay the remaining

amount within 30 days. Id. at 3-4.

       This Court should promptly confirm the Panel’s Partial Final Award on Phase I, as

well as the Interim Award and Sanctions Order that led to it and on which the Panel relied

(collectively, the “Arbitration Awards”).     Under the FAA, a court must confirm an

arbitration award unless the award is vacated under 9 U.S.C. § 10 or modified or corrected

pursuant to 9 U.S.C. § 11. 9 U.S.C. § 9. No such circumstances exist here. Agri-Access


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further requests that the Court grant leave to Agri-Access to register the Court’s judgment

in other United States District Courts for purposes of execution pursuant to 28 U.S.C.

§ 1963. Prompt confirmation and entry of judgment is necessary because the record is

clear that CAL and its owner/CEO will never comply with any order to turn over the Payoff

Proceeds unless there are real and serious consequences for non-compliance.

                                     BACKGROUND

       As the Court will recall from the earlier proceedings, 2 Agri-Access and CAL are

parties to an Origination, Field Servicing & Master Participation Agreement (“MPA”).

Under that agreement, Agri-Access may purchase participation interests in loans CAL has

originated to agricultural borrowers. One such set of loans was made in 2018 and 2021 to

borrowers the parties have referred to as the “          Borrowers.” ECF No. 1-4 (Loan

Credit Agreement). Agri-Access paid $58 million to purchase a 100% participation interest

in those loans, which entitled it to the full amount due from the        Borrowers. ECF

Nos. 2-1 (0800 Loan Certificate of Participation); 2-2 (3400 Loan Certificate of

Participation). In April 2024, the         Borrowers refinanced the loans with a different

lender, and remitted to CAL the full outstanding balance ($58,187,976.50). ECF Nos. 1-2

(Final Closing Stmt.); 2-5 (Wire Confirm. & Correspondence). CAL was obligated by the




       2
        See, e.g., ECF No. 1 (May 21, 2024 Sealed Complaint); ECF No. 7 (May 21, 2024
Sealed Memorandum in Support of Motion for Temporary Restraining Order); ECF No.
38 (June 18, 2024 Agri-Access Letter to J. Blackwell); ECF No. 41 (Emergency Arbitrator
Recommendation); ECF No. 63 (September 11, 2024 Agri-Access Letter to J. Blackwell);
and multiple hearings (see ECF Nos. 33, 37 (Transcript of May 29, 2024 Status
Conference); ECF No. 57 (Transcript of Sept. 3, 2024 Show Cause Hearing)).


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MPA to promptly remit those Payoff Proceeds to Agri-Access. But CAL refused to do so.

It first tried to conceal its receipt of the Payoff Proceeds. Then it steadfastly resisted every

effort by Agri-Access to recover the Payoff Proceeds or at least require that CAL segregate

and preserve those specific, traceable funds, pending determination of Agri-Access’s rights

to the funds in arbitration.

       A.     Prior Proceedings in this Court and Before the Emergency Arbitrator.

       The parties originally appeared in this Court on May 29, 2024, in connection with

Agri-Access’s request for an order in aid of arbitration directing CAL to preserve the

Payoff Proceeds. ECF No. 1 (May 21, 2024 Sealed Complaint); ECF No. 5 (May 21, 2024

Motion for TRO). After CAL’s counsel represented that the entirety of the Payoff Proceeds

were still in CAL’s possession and Mr. Cook submitted a declaration stating that he was

willing to preserve the funds pending resolution of the arbitration, the Court entered an

order requiring CAL to place the funds in a third-party escrow account and provide a report

within five days. ECF Nos. 33, 37 (Transcript of May 29, 2024 Status Conference); 32

(May 29 Order of District Court). As CAL later admitted, it did neither.

       Agri-Access also sought relief from the Emergency Arbitrator, who entered an

interim award that adopted this Court’s order. ECF No. 41-1 (Interim Award). When CAL

refused to comply, the Emergency Arbitrator supplemented the interim award and directed

CAL to provide further reports on the status of the funds. ECF No. 41-2 (Supplement to

Interim Award). CAL continued to defy those orders and never made a full accounting.

But CAL did reveal that, contrary to its earlier representations to this Court, it did not

possess the funds but had “invested” them. In further reports, it stated that it had recovered


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$23 million of the funds previously “invested,” but it continued to refuse to place any funds

in a third-party escrow account as ordered. ECF No. 57 (Transcript of Sept. 3, 2024 Show

Cause Hearing) at 7-8. Instead, it claimed that it had deposited them in a bank account

controlled by its litigation counsel. Nor did CAL provide any accounting or documents

that would shed light on the whereabouts of the remaining funds.

       In light of CAL’s failure to comply with the awards and orders of the Emergency

Arbitrator, Agri-Access sought and obtained from the Emergency Arbitrator (1) a

recommendation that the Court impose sanctions in accordance with the Court’s May 29

Order and (2) an interim award of attorneys’ fees (which CAL still has not paid). See ECF

No. 41 (Emergency Arbitrator Recommendation).

       To enforce the Emergency Arbitrator’s recommendation, Agri-Access returned to

this Court in September 2024. In a hearing held on September 3, CAL’s counsel admitted

that CAL had not complied with the Court’s May 29 Order. See ECF No. 57 (Transcript

of Sept. 3, 2024 Show Cause Hearing) at 8-10. On September 20, 2024, the Court issued

an order recounting CAL’s obfuscation and delay:

       Defendant’s extended record of noncompliance with orders to preserve the
       Payoff Proceeds is clearly detailed in the R&R. (Doc. No. 41 ¶ 6.) Despite
       initial assurances of possession and preservation of the Payoff Proceeds, and
       despite repeated promises to the Emergency Arbitrator that detailed
       information would be provided, Defendant has yet to deliver a reasonable
       report on the status of the Payoff Proceeds. Defense counsel acknowledges
       that Defendant has not complied with the interim orders, and Defendant’s
       CEO, who is controlling Defendant’s position, presently appears more
       focused on farming obligations no matter the inordinate resources
       Defendant’s noncompliance has absorbed. (See Doc. No. 60 at 6
       (referencing pistachio farming).) Defendant’s “cat and mouse” tactics have
       now defied two decisionmakers and led this Court to consider appointing a



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       receiver to accomplish the tasks that Defendant has refused for months. The
       deadline for compliance has long since passed.

See ECF No. 73 (Order on Report and Recommendation of Emergency Arbitrator) at 6-7.

       However, the Court declined to impose further sanctions at the time, explaining that,

while the Emergency Arbitrator had recommended the imposition of sanctions, he had not

entered an actual sanctions award that the Court could enforce. Id. at 7. Further, “as the

full arbitration panel ha[d] now been seated, the Emergency Arbitrator’s appointment and

authority ha[d] expired in accordance with AAA Commercial Arbitration Rule 39(f).” Id.

The Court thus concluded that “the panel should have the opportunity to consider whether

to adopt, vacate, or modify the Emergency Arbitrator’s interim awards.” Id. The Court

also noted that, “[d]epending on the panel’s decision, Plaintiffs can then seek enforcement

from any appropriate court.” Id. at 7-8.

       B.     The Panel Sets the Schedule and Holds Preliminary Hearings.

       The Panel issued an order on September 6, 2024, bifurcating the arbitration into a

Phase I hearing during the week of January 13, 2025 and a Phase II hearing during the

week of May 26, 2025. See Exhibit 2 (Arbitration Panel’s Bifurcation Order). CAL

objected to bifurcation, while Agri-Access sought additional sanctions and relief from the

merits Panel for CAL’s ongoing failure to comply with prior orders and awards. On

October 2, 2024, at CAL’s request, the Panel issued an Order setting a preliminary two-

day hearing on October 22 and 23, 2024. See Exhibit 8 (Panel Sanctions Order) at 1, n.1 .

      At that preliminary hearing, CAL’s owner and CEO Ron Cook testified and made a

number of crucial admissions under oath, including that:



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      (1) CAL sold a 100% Participation in the Loans to Agri-Access for $58 million (see

           Exhibit 4 (Transcript of Oct. 22, 2024 Hearing) at 94);

      (2) CAL instructed the Borrowers to deliver the Payoff Proceeds to CAL without

           ever informing Agri-Access (see id. at 136:6-12);

      (3) CAL, at Mr. Cook’s direction, received and withheld the Payoff Proceeds to

           coerce Agri-Access into re-negotiating its business relationship with CAL (see

           id. at 137:6-143:9);

      (4) Mr. Cook transferred over $35 million of the Payoff Proceeds received by CAL

           to third parties he described as “valued business partners,” based on only a

           “handshake” deal, to “hold” the funds until he provided further instructions (see

           id. at 100:23-25, 101:12, 104:4-105:13, 106:24-107:1, 194:3-5);

      (5) The three recipients of the $35 million did not have any claims to the Payoff

           Proceeds (see id. at 103:17-18, 103:25-104:3, 104:12-14, 105:4-13, 106:7-15,

           107:2-4); and

      (6) Mr. Cook had not made any requests to his “valued business partners” for the

           return of the $35 million so that CAL could escrow them as ordered by the Court

           and the Emergency Arbitrator. See id. at 103:15-20, 105:14-17, 107:5-8.

      C.      The Panel’s Interim Award Gives CAL “One Final Chance to Comply.”

      Based on this testimony and other evidence, on October 28, 2024, the Panel issued

an interim award (the “Interim Award”).          Among other things, the Interim Award

(1) denied CAL’s motion to reconsider bifurcation; (2) granted in part Agri-Access’s

request for interim relief; (3) adopted the awards of the Emergency Arbitrator without


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modification and suggested no modifications to the Court’s May 29 Order; 3 (4) found CAL

failed to comply within the time limits specified in the Emergency Arbitrator’s awards and

the Court’s May 29 Order; and (5) gave CAL “one final chance to comply,” ordering CAL

“to deposit $58,187,796.50 into a segregated, interest bearing, and award/order compliant

escrow account, on or before November 15, 2024.” Exhibit 5 (Interim Award of Merits

Panel) at 2-4.

       D.        CAL Again Fails to Comply, and Agri-Access Renews its Request for
                 Sanctions.

       Rather than comply, CAL flouted the Panel’s Interim Award. On November 15,

CAL submitted a letter to the Panel restating CAL’s objections that the MPA is unlawful

and unenforceable and asserting that the Panel “is prohibited from ordering CAL to

perform a discretionary act under the MPA.” See Exhibit 6 (R. Georgeson Letter dated

Nov. 15). Despite its counsel’s repeated representations that no third parties had claims

against the Payoff Proceeds—and Ron Cook’s sworn testimony that the recipients of the

$35 million had no claims against the Payoff Proceeds—CAL also submitted a declaration

from Mr. Cook in which he asserted that he was unable to secure the return of the Payoff

Proceeds because the members of his inner circle to whom the funds were transferred were




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         Specifically, the Interim Award adopted the June 3, 2024 Interim Award (ECF No.
38-1); the June 4, 2024 Supplement to Interim Award (ECF No. 38-3); the June 13, 2024
Second Supplemental Interim Order (ECF No. 38-5); and the August 13, 2024 Interim
Award of Attorneys’ Fees and Costs (Exhibit 3) of the Emergency Arbitrator.


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allegedly now claiming (without any detail or evidence) that such payments were made in

repayment of debts owed by CAL. Exhibit 7 (R. Cook Declaration dated Nov. 15) at 2-3.

       E.     The Panel Issues its Sanctions Order.

       On November 26, following further briefing from the parties, the Panel issued a

sanctions order (the “Sanctions Order”), in which it incorporated the terms of the Interim

Award and found that “CAL has willfully and without justification violated the previous

Order of the United States District Court, the Interim Awards and Order of the Emergency

Arbitrator, and the Interim Award of the Merits Panel.” Exhibit 8 (Panel Sanctions Order)

at 2. The Panel accordingly ordered, among other things, that Agri-Access be awarded “its

costs . . . and attorneys’ fees through the Phase I hearing, the amounts of which will be

determined in the Phase I hearing.” Id. The Panel also noted that it was “concerned that

CAL and its owner and CEO have misled the Panel relative to the disposition of the Payoff

Proceeds, and should CAL continue to fail to comply with the Interim Award of the Merits

Panel, the Panel may order additional sanctions.” Id.

       F.     The Panel Holds the Phase I Hearing and Issues its Partial Final Award
              on Phase I.

       On December 23, 2024, CAL filed a motion to stay the arbitration on the ground

that Mr. Cook is the subject of a criminal grand jury investigation arising out of CAL’s

theft of the Payoff Proceeds. Exhibit 9 (Motion to Stay Arbitration Proceedings) at 2. CAL

argued that Mr. Cook faced the risk of self-incrimination if he were to testify at the hearing,

and thus the hearing should be deferred until the criminal proceedings were complete. Id.

at 3. The Panel denied that motion on multiple grounds, including that Agri-Access would



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be “seriously prejudiced by a delay in the hearing” given that CAL has “received [Agri-

Access’s] property and has steadfastly refused to return it.” Exhibit 10 (December 26,

2024 Pre-Hearing Order) at 1. The Panel observed that “[i]t has further been shown that

[CAL] has dissipated that property and there are real concerns that further delays could

result in additional dissipation.” Id. at 1-2. The Panel concluded that neither CAL nor Mr.

Cook would be unduly prejudiced if Mr. Cook opted not to testify in the hearing because

CAL could rely on his previous testimony, including his testimony under oath at the

October 2024 preliminary hearing. Id. at 2.

       The merits hearing was held in Minneapolis on January 13, 2025. See Exhibit 1.

CAL presented no witnesses or other evidence of its own and did not cross-examine Agri-

Access’s witness. It argued to the Panel, however, that Agri-Access’s claims should be

denied on the ground that the MPA violated federal and state law because it effectively

made Agri-Access a direct lender outside of its authorized territory under the federal Farm

Credit Act. CAL also challenged the arbitrator’s jurisdiction and asserted the MPA was

invalid under various state-law theories, including fraud and mistake.

       The Panel issued its unanimous Partial Final Award on Phase I on February 4, 2025.

It addressed—and rejected—all of CAL’s challenges to the legality or enforceability of the

MPA, including its arbitration provision. As to arbitrability, the Panel found that CAL had

waived any challenge to arbitrability by “failing to timely object and by affirmatively

participating in the arbitration.” Id. at 12. On the merits, the Panel found in Agri-Access’s

favor on Agri-Access’s breach of contract claim, ruling that Agri-Access was

“unconditionally entitled” under the MPA to receive the Payoff Proceeds and CAL “had


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no legal grounds” to withhold those Proceeds. Id. at 6. The Panel further found that Agri-

Access had proved its claims for unjust enrichment and breach of the covenant of good

faith and fair dealing as alternative bases for recovery. Id. at 7.

       Based on these rulings, the Panel ordered that CAL pay Agri-Access the sum of

$57,146,398.93, together with interest at the Minnesota statutory rate of 10% from and

after May 9, 2024, and continuing thereafter on unpaid amounts. Id. at 3. The Panel further

ordered that CAL pay Agri-Access for its attorneys’ fees and costs in the amount of

$3,593,601 through Phase I (in addition to the fees and costs of $ 237,953.50 awarded by

the Emergency Arbitrator in his Interim Award of Attorneys’ Fees and Costs of August 13,

2024), and $143,773.75 for the administrative fees and expenses of the AAA. Id. The

Panel ordered that CAL pay the amounts awarded within 30 days of the issuance of the

Award, and that it “[i]mmediately and without delay” transfer the $23 million in Payoff

Proceeds being held in the account of CAL’s counsel. Id. at 4.

       The Panel made clear that its Partial Final Award on Phase I fully resolves “all

claims and defenses submitted to Phase I of this arbitration.” Id. Further, reflecting CAL’s

persistent refusal to turn over the Payoff Proceeds and its willful defiance of all previous

orders to preserve and segregate the funds, the Panel recommended that “any Court

confirming and enforcing this Partial Final Award consider and impose any and all actions

and relief which may be necessary and appropriate to compel Respondent’s immediate

compliance, including but not limited to the appointment of a receiver to take possession

of Respondent’s documents and assets and to exercise all rights and perform all tasks




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necessary to effectuate the terms of this Partial Final Award, as well as the Merit Panel’s

prior Interim Award and Sanctions Order.” Id.

       G.     CAL’s Lies to Agri-Access, the Arbitrators, and This Court.

       The record is beyond dispute that CAL has repeatedly lied to everyone involved in

these proceedings—including this Court—about the location and status of the Payoff

Proceeds.

       First, CAL lied to this Court about its efforts to open a compliant escrow account.

In its June 20, 2024 letter to the Court, CAL’s counsel represented that “[a] compliant

escrow account is in the process of being established at Bank of the Sierra, a financial

institution with which CAL has no pre-existing relationship. Counsel expects that the

account will be established in the next few days and will receive the [$23 million] funds

currently deposited at Fresno First Bank.        Additional funds reacquired will also be

deposited in the compliant escrow account.” ECF No. 39 (June 20 Letter to J. Blackwell)

at 2. However, CAL never deposited even the $23 million in Payoff Proceeds it was able

to recover into a compliant escrow account, despite being ordered (and able) to do so, and

has not confirmed whether it now intends to comply with the Panel’s Partial Final Award

on Phase I and transfer these funds to Agri-Access.

      CAL also represented to this Court that “CAL has diligently attempted to comply

with the [Emergency Arbitrator’s] Interim Orders” and “CAL understands and takes

seriously its obligations and is making every reasonable effort to comply.” ECF No. 39

(June 20 Letter to J. Blackwell). However, as noted above, Mr. Cook’s October 22

testimony showed that those statements were false, and that he had made no request for the


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return of the Payoff Proceeds from the members of his inner circle to whom he improperly

diverted these funds. See Exhibit 4 at 103:15-20, 105:14-17, 107:5-8.

       More recently, it has come to the attention of Agri-Access’s counsel that Mr. Cook’s

representations regarding the whereabouts of the Payoff Proceeds are demonstrably false.

In January 2025, Agri-Access filed a lawsuit in the United States District Court for the

Eastern District of California against Mr. Cook’s business associates (the “E.D. Cal.

Defendants”) for the return of more than $35 million of the Payoff Proceeds. In connection

with that action, recently-obtained documents and representations made by counsel for the

E.D. Cal. Defendants (including by Mr. Georgeson and Mr. Lee as purported counsel for

Defendant Kristi Iness) reveal that nearly all of the more than $35 million CAL transferred

to the E.D. Cal. Defendants had already been returned to CAL well before Mr. Cook’s

sworn testimony to the contrary. Exhibit 11 (Jan. 29 Email to Panel).

       These contradictory—and demonstrably false—statements from Ron Cook, CAL,

and counsel have delayed (and so far prevented) recovery of the Payoff Proceeds, and

neither CAL nor its counsel have made any effort to explain or correct them.

       In accordance with this Court’s September 20, 2024 Order on Report and

Recommendation of Emergency Arbitrator, Agri-Access now seeks enforcement of the

Arbitration Awards and any other relief as the Court deems appropriate. Only with an

enforceable order from this Court can CAL be compelled to comply with its obligations or

otherwise face real consequences for its refusal to do so.




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                                      ARGUMENT

I.     THE COURT SHOULD CONFIRM THE ARBITRATION AWARDS.

       “Under the Federal Arbitration Act, 9 U.S.C. § 9, a court must confirm an arbitration

award unless the award is vacated under 9 U.S.C. § 10, or modified or corrected pursuant

to 9 U.S.C. § 11.” Beumer Corp. v. ProEnergy Servs., LLC, 899 F.3d 564, 565 (8th Cir.

2018). 4 As such, “the Court must confirm an arbitration award if there is no basis to vacate

or modify the award.” Paisley Park Enters., Inc. v. Boxill, 371 F. Supp. 3d 578, 582 (D.

Minn. 2019); see also Prime Therapeutics LLC v. Omnicare, Inc., 555 F. Supp. 2d 993,

996 (D. Minn. 2008) (“Under the FAA, a court must confirm an arbitration award, except

in the [] narrow circumstances [enumerated in 9 U.S.C. § 10].”).

       Because the FAA applies here and its requirements are easily satisfied, this Court

should promptly confirm the Arbitration Awards.

       A.     The FAA Applies to the Confirmation of the Arbitration Awards.

       The FAA applies here. 5 That is because the MPA reflects a commercial relationship



       4
        Pursuant to 9 U.S.C. § 9, “at any time within one year after the award is made any
party to the arbitration may apply to the court so specified for an order confirming the
award, and thereupon the court must grant such an order unless the award is vacated,
modified, or corrected as prescribed in sections 10 and 11 of this title.” As the Interim
Award was served upon the parties on October 28, 2024, the Sanctions Order was served
upon the parties on November 26, 2024, and the Partial Final Award on Phase I was served
upon the parties on February 4, 2025, Agri-Access’s Motion to Confirm Arbitration
Awards is timely.
       5
        Even if the MUAA applied (it does not), that would not matter. The MUAA and
FAA have similar standards, and confirmation is proper under either. See, e.g., Conroy v.
Inter Fac. Org., No. CIV 06-4612 JRT/FLN, 2007 WL 2580573, at *5 (D. Minn. Sept. 5,
2007) (“Both acts have very similar standards. . . .”); Hunter, Keith Indus., Inc. v. Piper


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between parties in different states concerning loans in an industry that affects interstate

commerce and thus is a contract “involving” interstate commerce, the MPA’s arbitration

clause does not expressly exclude application of the FAA, and the parties are litigating in

federal court. 9 U.S.C. § 2; Laborers Health & Welfare Tr. Fund for N. Cal. v. Laster, No.

C–92–1009 MHP, 1993 WL 165355, at *11 (N.D. Cal. Feb. 2, 1993) (“It is unquestionable

that agriculture is an activity ‘affecting commerce.’”); Volt Info Sciences v. Bd. of Trustees,

489 U.S. 468, 476 (1989) (“[T]his contract falls within the coverage of the FAA, since it

involves interstate commerce . . . .”); Minn. Nurses Ass’n v. Amended N. Mem’l Health

Care, No. CIV. 14-4529 DSD/BRT, 2015 WL 2373446, at *2 n.3 (D. Minn. May 18, 2015)

(“Although MNA moved for vacatur under the Minnesota Uniform Arbitration Act, the

court finds that this action is governed by federal law.”), aff’d sub nom. Minn. Nurses Ass’n

v. N. Mem’l Health Care, 822 F.3d 414 (8th Cir. 2016).

       B.     The FAA’s Requirements for Confirmation are Easily Satisfied Here.

       “Section 10 [of the FAA] contains the exclusive bases for vacating an arbitration

award.” Boxill, 371 F. Supp. 3d at 582 (emphasis in original). Under Section 10, an

arbitration award may be vacated “(1) where the award was procured by corruption, fraud,

or undue means; (2) where there was evident partiality or corruption in the arbitrators, or



Cap. Mgmt. Inc., 575 N.W.2d 850, 854 (Minn. Ct. App. 1998) (“The grounds for vacating
an arbitration award under the Federal Arbitration Act are similar to those under the
Minnesota act.”); Card v. Stratton Oakmont, Inc., 933 F. Supp. 806, 810 (D. Minn. 1996)
(stating that “Section 9 of the FAA, as well as Minn. Stat. § 572.18, provides that a party
to an arbitration proceeding may apply to the court for an order confirming the award” and
citing Section 9 of the FAA and Minn. Stat. § 572.18 as requiring confirmation unless “the
arbitration award has been corrected, vacated or modified”).


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either of them; (3) where the arbitrators were guilty of misconduct in refusing to postpone

the hearing, upon sufficient cause shown, or in refusing to hear evidence pertinent and

material to the controversy; or of any other misbehavior by which the rights of any party

have been prejudiced; or (4) where the arbitrators exceeded their powers, or so imperfectly

executed them that a mutual, final, and definite award upon the subject matter submitted

was not made.” 9 U.S.C. § 10(a).

       As a threshold matter, CAL has not sought vacatur for any reason—nor could it

plausibly do so. First, nothing in the record indicates that the Interim Award, the Sanctions

Order, or the Partial Final Award on Phase I were obtained by any form of corruption,

fraud, or undue means. In fact, the parties agreed that the arbitration should proceed under

the AAA’s Commercial Arbitration Rules, and CAL engaged in formal discovery,

submitted filings to the Emergency Arbitrator and the Panel, and participated in various

proceedings including the Phase I merits hearing.

       Second, there is similarly no evidence that any partiality or corruption exists on the

part of any of the arbitrators on the Panel. The Panel consists of well-respected arbitrators

who were appointed according to the terms of the MPA and AAA rules, including CAL’s

party-appointed arbitrator.

       Third, there is no evidence of any misconduct by the Panel and resulting prejudice

against CAL. To constitute misconduct requiring vacation of an award, an error in the

arbitrator’s determination “must be one that is not simply an error of law, but which so

affects the rights of a party that it may be said that he was deprived of a fair hearing.” El

Dorado Sch. Dist. #15 v. Cont’l Cas. Co., 247 F.3d 843, 848 (8th Cir. 2001) (internal


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citations omitted). That is, misconduct “must amount to [a] denial of fundamental fairness

of [the] arbitration proceeding[.]” Id. (citing Tempo Shain Corp. v. Bertek, 120 F.3d 16,

20 (2d Cir. 1997)). Because courts give “even greater deference to the arbitrator’s

decisions on procedural matters than those bearing on substantive grounds,” vacation is

warranted only where misconduct deprives a party “of a fair opportunity to present

evidence and argument in support of his position.” Brown v. Brown-Thill, 762 F.3d 814,

820 (8th Cir. 2014); see also Manion v. Nagin, No. 00-238 ADM/RLE, 2003 WL

21459680, at *3 (D. Minn. June 20, 2023) (finding no misconduct because the party

“identified no request for postponement not granted, nor any evidence sought to be

presented that was not received by the Arbitrator”).

       Here, there is no evidence that the arbitration procedures precluded a fair outcome.

CAL received adequate notice and every opportunity to present evidence and arguments at

each stage of the proceedings. In particular, the Panel decided to bifurcate the arbitration

proceedings and consider the Phase I issues separately based on CAL’s months-long non-

compliance with the segregation and escrow orders from the Emergency Arbitrator and

this Court. See Exhibit 2 (Arbitration Panel’s Bifurcation Order). When CAL sought

reconsideration of bifurcation, the Panel held the October preliminary hearing, at which

CAL presented argument and evidence that included damning testimony from Mr. Cook.

The Panel also denied CAL’s request to stay the Phase I proceedings in a reasoned decision,

finding that Agri-Access would be “seriously prejudiced by a delay in the hearing” given

that CAL had “received [Agri-Access’s] property and has steadfastly refused to return it.”

Exhibit 10 (December 26, 2024 Pre-Hearing Order).


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       Then again at the Phase I merits hearing, CAL “was given full opportunity to

present” its defense and “to challenge [Agri-Access’s] request for damages.” Exhibit 1

(Partial Final Award on Phase I) at 8. Even though the Panel “was prepared to hear all

evidence proffered” on CAL’s defenses, CAL “did not avail itself of that hearing

opportunity, electing instead to call no witnesses and limiting itself to the cross

examination of [Agri-Access’s] witnesses.” Id. Further, on the day of the hearing, CAL

opted not to cross-examine Agri-Access’s sole witness. After the Panel afforded CAL

these opportunities to present its case, an impartial decision resulted.

       Finally, the Panel did not exceed its authority in issuing the Interim Award, the

Sanctions Order, and the Partial Final Award on Phase I. Courts “will confirm the

arbitrator’s award even if [they] are convinced that the arbitrator committed serious error,

so long as the arbitrator is even arguably construing or applying the contract and acting

within the scope of his authority.” Osco Motors Co., LLC v. Quality Mark, Inc., No. CIV.

14-887 (MJD/JJK), 2014 WL 4163595, at *8 (D. Minn. Aug. 21, 2014) (quoting McGrann

v. First Albany Corp., 424 F.3d 743, 748 (8th Cir. 2005)). “It is only when an arbitrator

strays from interpretation and application of the agreement and effectively dispenses his

own brand of industrial justice that his decision may be unenforceable.” Balvin v. Rain &

Hail, LLC, 943 F.3d 1134, 1136 (8th Cir. 2019) (quoting Stolt-Nielsen S.A. v. AnimalFeeds

Int’l Corp., 559 U.S. 662, 671 (2010)). As demonstrated by the Interim Award, the

Sanctions Order, and the Partial Final Award on Phase I, the Panel considered substantial

arguments, documentary evidence, and witness testimony from both parties when issuing

the Arbitration Awards. The Panel also considered the law applicable to the parties’


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dispute and applied it to the facts in evidence. As such, the Panel did not exceed its

authority in issuing the Interim Award, the Sanctions Order, and the Partial Final Award

on Phase I.

       Further, CAL has never alleged, nor is there any evidence of, any of the limited

grounds under Section 11 of the FAA for a court to modify or correct an award. In

particular, there was no “evident material miscalculation of figures or an evident material

mistake in the description of any person, thing, or property referred to in the award”; the

Panel did not issue an “award[] upon a matter not submitted to them”; and neither the

Interim Award, the Sanctions Order, nor the Partial Final Award on Phase I “is imperfect

in matter of form not affecting the merits of the controversy.”            9 U.S.C. § 11.

Consequently, there are also no grounds for the Court to modify or correct the Arbitration

Awards.

       The Panel’s decisions as set forth in the Interim Award, the Sanctions Order, and

the Partial Final Award on Phase I are precisely the arbitration proceedings that this Court

had contemplated to allow it to enter judgment to compel CAL’s compliance and bring an

end to CAL’s “cat and mouse” tactics in this matter. Further, CAL has made no petition

to vacate, modify, or correct the Arbitration Awards, requiring their confirmation upon

Agri-Access’s application. 9 U.S.C. § 9; Domino Grp., Inc. v. Charlie Parker Mem’l

Found., 985 F.2d 417, 420 (8th Cir. 1993). Even if CAL had made a petition to vacate,

modify, or correct the Arbitration Awards, there is no basis for doing so, also requiring

their confirmation under applicable law. 9 U.S.C. § 9; Boxill, 371 F. Supp. 3d at 582;

Prime Therapeutics LLC, 555 F. Supp. 2d at 996. Therefore, the Court should issue an


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order confirming the Interim Award, the Sanctions Order, and the Partial Final Award on

Phase I and direct that judgment be entered thereon.

II.    CAL’S CHALLENGES TO JURISDICTION AND FINALITY ARE
       GROUNDLESS.

       Over the past nine months, CAL has raised various specious arguments in its

campaign to prevent or delay Agri-Access’s efforts to secure the Payoff Proceeds. Two

such arguments relevant to this motion are that (i) this Court lacks jurisdiction and venue,

and (ii) the Panel cannot issue a confirmable award without addressing all claims submitted

to arbitration, including all claims and counterclaims the Panel reserved for Phase II. Both

arguments are groundless and neither provides any basis for the Court to delay

confirmation of the Arbitration Awards.

       A.     This Court Has Jurisdiction and Venue is Proper.

       The FAA provides that a party to an arbitration may apply to a court specified in the

arbitration agreement for an order confirming an arbitration award, and that “[i]f no court

is specified in the agreement of the parties, then such application may be made to the United

States court in and for the district within which such award was made.” 9 U.S.C. § 9. Here,

the Panel held the Phase I merits hearing in Minneapolis, and further determined that

“pursuant to the MPA, the locale of the arbitration shall be Minnesota” (Exhibit 12

(Scheduling Order No. 1) at 1), which is encompassed by the District of Minnesota.

       Further, the MPA states that “[t]he prevailing party in an arbitration under this

section shall have the right to enter, without contest by the other party, an order reflecting

the arbitrator’s decision in any court of competent jurisdiction.” ECF No. 3 (MPA) at



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§ 7(c) (emphasis added). This provision, which applies specifically to actions to confirm

arbitral awards, governs this motion, rather than the MPA’s more general forum selection

clause. See, e.g., Jerry’s Enters. v. U.S. Specialty Ins. Co., 845 F.3d 883, 890 (8th Cir.

2017) (“[A] basic principle of Minnesota contract law instructs courts to make specific

contract language controlling over general language.”). Because the MPA does not require

a specific court for actions to confirm an arbitration award, Agri-Access has properly filed

this motion in the district where the arbitration is venued. See Hughes Socol Pier Resnick

& Dym, Ltd. v. G3 Analytics, LLC, 336 F. Supp. 3d 924, 930 (N.D. Ill. 2018) (finding that

because the parties’ agreement provided that a “decision of the arbitrator may be enforced

in any court of competent jurisdiction,” the agreement “did not specify a court” and

“[p]etitioners properly filed [the motion to enforce] in the district where the Award was

made”).

       This Court also has diversity jurisdiction under 28 U.S.C. § 1332. The parties to

this action are diverse: Agri-Access is a federally-chartered agricultural credit association

headquartered in Sun Prairie, Wisconsin and is a citizen of Wisconsin under the Farm

Credit Act. 12 U.S.C. § 2258 (“Each institution of the [Farm Credit] System shall for the

purposes of jurisdiction be deemed to be a citizen of the State, commonwealth, or District

of Columbia in which its principal office is located.”); see also Engelmeyer v. Prod. Credit

Ass’n of Midlands, 652 F. Supp. 1235, 1237 (D.S.D. 1987) (applying § 2258 and holding

the federally chartered corporation “is therefore a citizen, for jurisdictional purposes, of the

state in which its principal office is located”). CAL is a citizen of California. ECF Nos. 3

(MPA); 30 (Cook Decl.).        The amount in controversy, including the objects of the


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litigation, exceeds $75,000 exclusive of interest and costs.       Specifically, CAL has

unlawfully retained $57,146,398.93 of Agri-Access’s property.

       Further, this Court has personal jurisdiction based on CAL’s contacts with

Minnesota, including its agreement that the MPA would be governed by Minnesota law

and its presence at the Phase I merits hearing in Minneapolis. See ECF Nos. 3 (MPA); 2-

1 (0800 Loan Certificate of Participation); 2-2 (3400 Loan Certificate of Participation), 2-

5 (Wire Confirm. & Correspondence); 2-12 (First Power of Attorney); 2-13 (Second Power

of Attorney); 9 (Steele Decl.); 30 (Cook Decl.); Exhibit 1 (Partial Final Award on Phase

1); Cambria Co. LLC v. Disney Worldwide Servs., Inc., 651 F. Supp. 3d 1073, 1078-81 (D.

Minn. 2023) (“The nature and quality of contacts between [defendant] and the forum state

favor personal jurisdiction because both the formation and the performance of the

Agreement provided [defendant] with fair warning of being sued in Minnesota,” and “it

entered a multi-year contractual relationship that envisioned the purchase of millions of

dollars’ worth of products involving substantial coordination between the parties.”);

Dominium Austin Partners, L.L.C. v. Emerson, 248 F.3d 720, 726-27 (8th Cir. 2001)

(finding that “appellants consented to personal jurisdiction in Minnesota” where they were

parties to an agreement providing that “[a]ll arbitration hearings will be held in

Minneapolis, Minnesota”).

       Finally, venue is proper even aside from the FAA’s more specific venue rules

because “a substantial part of the events or omissions giving rise to the claim occurred” in

Minnesota, including CAL’s coordination with Agri-Access employees located in

Minnesota over nearly a decade to sell participation interests under the MPA and its


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communications with Agri-Access employees seeking to recover the Payoff Proceeds. See

ECF Nos. 2-5 (Wire Confirm. & Correspondence); 9 (Steele Decl.); 30 (Cook Decl.); 28

U.S.C. 1391(b)(2).

       B.     The Panel’s Partial Final Award on Phase I is Final for Purposes of
              Judicial Confirmation.

       Courts around the country have repeatedly held that a final, confirmable arbitration

award may be entered on less than all pending claims or issues before the arbitrators. See,

e.g., Manion v. Nagin, 392 F.3d 294, 299-301 (8th Cir. 2004) (holding that the district court

properly reviewed an interim award that “finally determined the substantive issues” on

liability, even though the arbitrator postponed resolving the question of damages);

Bridgeview Aerosol, LLC v. Black Flag Brands, LLC, No. CV 09-1817 (JNE/SRN), 2009

WL 10678555, at *3 (D. Minn. Sept. 18, 2009) (“‘an interim award that finally and

definitively disposes of a separate independent claim may be confirmed notwithstanding

the absence of an award that finally disposes of all the claims that were submitted to

arbitration’” (quoting Island Creek Coal Sales Co. v. City of Gainesville, 729 F.2d 1046,

1049 (6th Cir. 1984)).

       HDI Glob. SE v. Phillips 66 Co., No. 22-CV-807 (VEC), 2022 WL 3700153, at *3

(S.D.N.Y. Aug. 26, 2022), is instructive. There, the arbitrators determined in a partial

award that the respondent insurer was entitled to be repaid $725,000 in defense costs that

it had prematurely paid in error to its insured. The award was based on the arbitrator’s

interpretation of a “Loss Payable” condition in the insurance policy. The award did not

resolve all the issues in the arbitration, however, because the arbitrators had not ruled on



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the insured’s right to payment under the policy for other claims, which were reserved for a

subsequent phase of the arbitration. Despite the pendency of the unresolved claims, the

court held that the $725,000 repayment order was a final award that could be judicially

confirmed. The court concluded that “[t]he claim for repayment was . . . a ‘separate and

independent claim’” subject to confirmation because it finally resolved that the payment

had been made in error and was thus a “severable issue” rather than merely a determination

that might bear on future claims. Id. at *3 (quoting Metallgesellschaft A.G. v. M/V Capitan

Constante, 790 F.2d 280, 283 (2d Cir. 1986)). And this was true even though the

arbitrator’s interpretation of the “Loss Payable” condition would set the “framework” for

resolving the remaining claims in the case. Id. at *4.

       The same is true here. Agri-Access’s claim for recovery of the Payoff Proceeds is

“separate and independent” from its claims regarding loans to other borrowers and from

CAL’s counterclaims. The separate and independent nature of the issue is confirmed by

the fact that the Panel found it appropriate to bifurcate the question of Agri-Access’s right

to the Payoff Proceeds from the other claims in the arbitration, as expressly authorized by

the governing rules of the AAA. See Exhibit 2 (Arbitration Panel’s Bifurcation Order);

AAA Commercial Arbitration Rules and Mediation Procedures at R-33(b) (“The arbitrator,

exercising his or her discretion, shall conduct the proceedings with a view to expediting

the resolution of the dispute and may direct the order of proof, bifurcate proceedings and

direct the parties to focus their presentations on issues the decision of which could dispose

of all or part of the case.”). And it was further confirmed by the Panel’s Partial Final Award

on Phase I. See Exhibit 1 (Partial Final Award on Phase I) at 4 (“This Partial Final Award


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is in full settlement of all claims and defenses submitted to Phase I of this arbitration. All

claims and defenses submitted to the Phase I hearing, but not expressly mentioned in this

Award, are DENIED.”), 13 (“By use of bifurcation, the Panel was able to provide the

narrow evidentiary hearing concerning the Payoff Proceeds while reserving jurisdiction

over the independent additional claims and the counterclaims”). As the bifurcation order

and Partial Final Award on Phase I recognize, Agri-Access’s right to the Payoff Proceeds

does not depend on the resolution of its other claims or CAL’s counterclaims. It is a stand-

alone issue that is not affected by whether Agri-Access is entitled to recover additional

amounts on other loans. Nor is Agri-Access’s right to the Payoff Proceeds affected by

whether CAL can prove that it was injured in connection with any of its separate and

independent counterclaims. This separateness is demonstrated by, among other things, the

fact that CAL has filed two lawsuits in California Superior Court in Fresno that assert

essentially the same claims as CAL’s counterclaims in this action, but those lawsuits do

not mention anything about the              Loans or the more than $58 million in Payoff

Proceeds. 6

       As HDI Global illustrates, a partial final award is proper even though the Panel’s

resolution of certain issues in connection with the         Loans—including the resolution

of CAL’s claims of illegality—may also be relevant to resolving the remaining claims. It

is enough that Agri-Access’s right to the Payoff Proceeds has been finally resolved as a




      See Superior Court of California, County of Fresno Case Nos. 24CECG02156 and
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24CECG03803.


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severable issue. 2022 WL 3700153, at *3; see also Loc. Union No. 1 of the United Ass’n

of Journeymen & Apprentices of the Plumbing & Pipe Fitting Indus. of the U.S. & Canada

v. JPP Plumbing, LLC, No. 12-CV-2034 (DLI)(RLM), 2014 WL 1311934, at *4 (E.D.N.Y.

Mar. 27, 2014) (“The Construction Water Award was rendered in an arbitration proceeding

that consolidated several grievances. . . . The Executive Committee resolved the

construction water allegations, but left open for further proceedings the allegations

regarding fabrication of pipe and the operation of valves and pumps. . . . Based on (i) the

language in the introductory paragraphs; (ii) the structure of the decision; (iii) the

severability of the issues; and (iv) the complete resolution of the construction water issue,

the Court finds that the Construction Water Award was final with regards to the 41G

Contract construction water issue as of the date of the decision, January 5, 2012.”);

Bridgeview Aerosol, 2009 WL 10678555, at *3-5 (confirming a partial award that ordered

immediate payment of amounts undisputedly owed for certain products, even though

claims remained as to other disputed products).

        Accordingly, the Partial Final Award on Phase I is final for purposes of confirmation

by this Court.

III.    THE COURT SHOULD PERMIT IMMEDIATE REGISTRATION OF ITS
        JUDGMENT.

        Under 28 U.S.C. § 1963, a judgment creditor may register a judgment in another

district by filing a certified copy of the judgment in that district. Section 1963 further

provides that a judgment “may be registered . . . when the judgment has become final by

appeal or expiration of the time for appeal or when ordered by the court that entered the



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judgment for good cause shown.” 28 U.S.C. § 1963 (emphasis added). Good cause exists

where the judgment creditor does not hold sufficient assets in the rendering district to

satisfy the judgment or when it holds assets in another federal district. 3M Co. v. Mohan,

Civ. No. 09-1413 ADM/FLN, 2011 WL 2441213, at *1-2 (D. Minn. June 17, 2011); see

also Glob. Traffic Techs., LLC v. Morgan, Civ. No. 10-4110 ADM/JJG, 2014 WL

5089850, at *2 (D. Minn. Oct. 9, 2024); Assoc. Bus. Tel. Sys. Corp. v. Greater Cap. Corp.,

128 F.R.D. 63, 66-68 (D.N.J. 1989).

         Here, good cause exists because CAL has substantial property in California and no

assets in Minnesota for satisfaction of the judgment. See Exhibit 13 (LexisNexis Due

Diligence Report). Moreover, CAL has not offered any assurances that it will pay the sums

due under the Arbitration Awards or comply with a court-ordered bond. See Spray Drift

Task Force v. Burlington Bio-Medical Corp., 429 F. Supp. 2d 49, 51 (D.D.C. 2006)

(finding good cause for immediate registration because defendant had “offered no

assurances that it [would] pay the Award or comply with a court-ordered bond”). To the

contrary, CAL has repeatedly demonstrated its unwillingness to turn over the Payoff

Proceeds in defiance of binding orders from this Court, the Emergency Arbitrator, and the

Panel.

         Further, this Court can authorize immediate registration at the same time that it

confirms the Arbitration Awards. The plain language of § 1963 imposes no temporal limit

on when a court may find “good cause” for authorizing registration in another district. See

28 U.S.C. § 1963; Spray Drift, 429 F. Supp. 2d at 51 (“[t]he statute’s plain meaning is that

a judgment may be registered when it has become final or, at any other time, for good cause


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shown”). And courts have authorized a prevailing party to register a judgment confirming

an arbitration award immediately, without regard to any post-judgment motions or whether

an appeal has been filed. See Spray Drift, 429 F. Supp. 2d at 51; AT&T Corp. v. Public

Ser. Enter., No. 98CV6133LAP, 1999 WL 672543, at *6 (S.D.N.Y. Aug. 26, 1999).

Where, as here, there is strong reason to believe that CAL will attempt to avoid

enforcement of the judgment, this Court should permit Agri-Access to register the

judgment confirming the Arbitration Awards in California immediately. See Spray Drift,

429 F. Supp. 2d at 51 (authorizing immediate registration to prevent defendant “from

utilizing the delay in execution of the judgment to remove property from another district,

thus frustrating potential enforcement”).

                                     CONCLUSION

       For all of the reasons above, Agri-Access respectfully requests that this Court:

       1.     Issue an order pursuant to 9 U.S.C. § 9 confirming the Interim Award

              (including the orders and awards of the Emergency Arbitrator adopted

              therein), the Sanctions Order, and the Partial Final Award on Phase I.

       2.     Enter judgment thereon pursuant to 9 U.S.C. § 13.

       3.     Grant leave to register the Court’s judgment in other United States District

              Courts for purposes of execution pursuant to 28 U.S.C. § 1963.

       4.     Award Agri-Access such other and further relief as this Court deems just and

              proper.




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Dated: February 12, 2025        Respectfully submitted,

                                JONES DAY

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